                      Case 18-33828 Document 32 Filed in TXSB on 07/27/18 Page 1 of 4
Information to identify the case:
Debtor 1                Charlvin DeWayne Denman                                         Social Security number or ITIN        xxx−xx−0298
                        First Name   Middle Name     Last Name                          EIN _ _−_ _ _ _ _ _ _
Debtor 2                                                                                Social Security number or ITIN _ _ _ _
                        First Name   Middle Name     Last Name
(Spouse, if filing)
                                                                                        EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court              Southern District of Texas
                                                                                        Date case filed for chapter 7 7/11/18
Case number:           18−33828


Official Form 309A (For Individuals or Joint Debtors)
AMENDED Notice of Chapter 7 Bankruptcy Case                                                    12/15

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered. This notice has important information about the case for creditors, debtors, and trustees, including
information about the meeting of creditors and deadlines. Read both pages carefully.

NOTE: This notice amends the previous notice you received. Please review it carefully to determine changes in
settings, deadlines or trustee information.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                                   About Debtor 1:                                   About Debtor 2:

1.      Debtor's full name                         Charlvin DeWayne Denman

2.      All other names used in the
        last 8 years

3.     Address                                 19531 Remington Bend Dr.
                                               Houston, TX 77073

4.     Debtor's attorney                       Adrian Stanley Baer                                  Contact phone 713−630−0600
                                               Law Offices of Adrian S. Baer
       Name and address                        3306 Sul Ross                                        Email: abaer@clegal.com
                                               Houston, TX 77098

5.     Bankruptcy trustee                      Ronald J Sommers                                     Contact phone 713−892−4801
                                               Nathan Sommers Jacobs
       Name and address                        2800 Post Oak Blvd                                   Email: efile@nathansommers.com
                                               61st Floor
                                               Houston, TX 77056
                                                                                                               For more information, see page 2 >
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                    page 1
                  Case 18-33828 Document 32 Filed in TXSB on 07/27/18 Page 2 of 4
Debtor Charlvin DeWayne Denman                                                                                             Case number 18−33828


6. Bankruptcy clerk's office                    United States Bankruptcy Court                               Hours open:
                                                PO Box 61010                                                 8:00 am − 5:00 pm Monday
    Documents in this case may be filed at this Houston, TX 77208                                            through Friday
    address. You may inspect all records filed
    in this case at this office or online at
    www.pacer.gov.                                                                                           Contact phone (713) 250−5500

                                                                                                             Date: 7/25/18

7. Meeting of creditors                          September 5, 2018 at 09:30 AM                               Location:

    Debtors must attend the meeting to be        The meeting may be continued or adjourned to a              Suite 3401, 515 Rusk Ave,
    questioned under oath. In a joint case,      later date. If so, the date will be on the court            Houston, TX 77002
    both spouses must attend. Creditors may
    attend, but are not required to do so.       docket.


8. Presumption of abuse                          The presumption of abuse does not arise.

    If the presumption of abuse arises, you
    may have the right to file a motion to
    dismiss the case under 11 U.S.C. §
    707(b). Debtors may rebut the
    presumption by showing special
    circumstances.


9. Deadlines                                   File by the deadline to object to discharge or                Filing deadline: 10/9/18
                                               to challenge whether certain debts are
    The bankruptcy clerk's office must receive dischargeable:
    these documents and any required filing
    fee by the following deadlines.
                                                 You must file a complaint:
                                                 • if you assert that the debtor is not entitled to
                                                   receive a discharge of any debts under any of the
                                                   subdivisions of 11 U.S.C. § 727(a)(2) through (7),
                                                   or

                                                 • if you want to have a debt excepted from discharge
                                                   under 11 U.S.C § 523(a)(2), (4), or (6).

                                                 You must file a motion:
                                                 • if you assert that the discharge should be denied
                                                   under § 727(a)(8) or (9).


                                                 Deadline to object to exemptions:                           Filing deadline: 30 days after the
                                                 The law permits debtors to keep certain property as         conclusion of the meeting of creditors
                                                 exempt. If you believe that the law does not authorize an
                                                 exemption claimed, you may file an objection.


10. Proof of claim                               No property appears to be available to pay creditors. Therefore, please do not file a
                                                 proof of claim now. If it later appears that assets are available to pay creditors, the clerk
    Please do not file a proof of claim unless   will send you another notice telling you that you may file a proof of claim and stating the
    you receive a notice to do so.               deadline.

11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
                                     asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                     United States bankruptcy law if you have any questions about your rights in this case.

12. Exempt property                              The law allows debtors to keep certain property as exempt. Fully exempt property will
                                                 not be sold and distributed to creditors. Debtors must file a list of property claimed as
                                                 exempt. You may inspect that list at the bankruptcy clerk's office or online at
                                                 www.pacer.gov. If you believe that the law does not authorize an exemption that the
                                                 debtors claim, you may file an objection. The bankruptcy clerk's office must receive the
                                                 objection by the deadline to object to exemptions in line 9.
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                           page 2
                Case 18-33828 Document 32 Filed in TXSB on 07/27/18 Page 3 of 4
                                      United States Bankruptcy Court
                                       Southern District of Texas
In re:                                                                                 Case No. 18-33828-evr
Charlvin DeWayne Denman                                                                Chapter 7
         Debtor
                                        CERTIFICATE OF NOTICE
District/off: 0541-4          User: ShoshanaA              Page 1 of 2                   Date Rcvd: Jul 25, 2018
                              Form ID: 309Aamd             Total Noticed: 61


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jul 27, 2018.
db             +Charlvin DeWayne Denman,    19531 Remington Bend Dr.,     Houston, TX 77073-4481
10296349        AES/BELA-US Bank,    P.O. Box 20301,    Helena, MT 59620
10308365       +Adesa,    4526 N. Sam Houston Parkway,    Houston, TX 77086-1424
10296406       +Alan Scheinthal,    Attorney at Law,    4635 Southwest Freeway, Suite 720,
                 Houston, Texas 77027-7105
10300733       +Auction Credit,    14951 Dallas Parkway, Ste 200,     Dallas, TX 75254-6883
10300734        Auto Finance Solutions,    17702 Mitchell North Street, Ste. 250,     Irvine, CA 92614
10300735       +Best Buy/CBNA,    P.O. Box 6497,    Sioux Falls, SD 57117-6497
10296419      ++CAINE & WEINER COMPANY,    12005 FORD ROAD 300,     DALLAS TX 75234-7262
               (address filed with court: Caine & Weiner,      P.O. Box 55848,    Sherman Oaks, CA 91413)
10296354       +Capi/Helzberg Diamonds,    P.O. Box 30523,    Salt Lake City, UT 84130-0523
10296355        Capital One/Best Buy,    P.O. Box 39253,    Salt Lake City, UT 84130
10308372       +Cooper Asset,    189 Townsend Street,    Birmingham, MI 48009-6008
10308378       +Denyse Cristalle,    4602 Tidewater,    Houston, TX 77045-4136
10308412       +FT Acceptance,    703 Waterford Way, Suite 780,     Miami, FL 33126-4677
10308379       +Facebook,    225 Park Avenue South,    New York, NY 10003-1780
10308380       +First American Payment Systems, Inc.,     100 Throckmorton Street, Ste. 1600,
                 Fort Worth, TX 76102-2846
10296370       +Floorplan Xpress LLC,    1450 W. Sam Houston Parkway, Suite F, Bu,      Houston,TX 77043-3136
10296372       +Harris County Tax Assessor,    1001 Preston,     Houston, TX 77002-1899
10306999       +Harris County Texas,    Harrison Greg Jr.,    1019 Congress, 16th Fl.,
                 Houston, Texas 77002-1772
10308413       +Intrepid Payment Processing,     100 Throckmorton St. Suite 1800,    Ft. Worth, TX 76102-2802
10296418       +JH Portfolio Debt Equity,    5757 Phantom Dr. Suite 225,     Hazelwood, MO 63042-2429
10308417       +Jeffrey Schiavo,    31 C Skyhollow Ct.,    Waterbury, CT 06779-2436
10296376       +Lending Club Corporation,    71 Stevenson Street Suite 1000,     San Francisco, CA 94105-2967
10300737       +Lobel Financial Corporation,     4710 Bellaire Blvd.,    Bellaire, TX 77401-4526
10308416       +Manheim,    6325 Peachtree Dunwoody Rd. NE,    Atlanta, GA 30328-4545
10296371       +Matthew A. Copeland,    Adams & Reese LLP,    LyondellBasell Tower,     1221 McKinney, Suite 4400,
                 Houston, Texas 77010-2023
10300738        Nextgear Capital LLC,    1370 City Center Dr., Ste. 102,     Carmel, IN 46032
10296348       +Sholeh Abedinzadeh,    The Welscher Martinez Law Firm,     1111 North Loop West, Suite 702,
                 Houston, Texas 77008-4715
10296379       +Smart Financial Credit Union,     P.O. Box 920719,    Houston, TX 77292-0719
10296378       +Stacey S. Fischer,    Sprechman & Fisher, P.A.,     2775 Sunny Isles Blvd., Suite 100,
                 Miami, FL 33160-4078
10296369       +Stephanie A Newport,    In-House Counsel for CIG Financial, LLC,     6 Executive Circle, Suite 100,
                 Irvine, California 92614-6732
10308419       +Surety Bonding Co. of America,     101 S. Reid St., Ste. 300,    Sioux Falls, SD 57103-7045
10300743       +Texas Bay Area Credit Union,     12611 Fuqua,    Houston, TX 77034-4646
10296409       +Texas Bay Area Credit Union,     12611 W. Fuqua,    Houston, TX 77034-4646
10296411       +Texas Department of Motor Vehicles,     4000 Jackson Avenue,    Austin, TX 78731-6007
10308420        Vanguard Fiduciary Trust Co.,     500 Admiral Nelson Dr.,    Malvern, PA 19355
10296373       +Vince Ryan,    Harris County Attorney,    1019 Congress, 15th Floor,     Houston, Texas 77002-1768
10308415       +Wallace Keels,    7320 Jensen Dr., #116,    Houston, TX 77093-8747
10300745        Westlake Financial,    P.O. Box,    Los Angeles, CA 90054
10308421       +Xfinity Business,    2616 Voss Rd.,    Houston, TX 77057-4100

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
aty             E-mail/Text: abaer@clegal.com Jul 25 2018 21:15:27        Adrian Stanley Baer,
                 Law Offices of Adrian S. Baer,     3306 Sul Ross,    Houston, TX 77098
aty            +E-mail/Text: houston_bankruptcy@LGBS.com Jul 25 2018 21:17:03        Tara L Grundemeier,
                 Linebarger Goggan Blair and Sampson LLP,     1301 Travis Street, Ste 300,
                 Houston, Tx 77002-7430
tr             +EDI: FRJSOMMERS.COM Jul 26 2018 00:43:00       Ronald J Sommers,    Nathan Sommers Jacobs,
                 2800 Post Oak Blvd,    61st Floor,    Houston, TX 77056-6131
cr              E-mail/Text: houston_bankruptcy@LGBS.com Jul 25 2018 21:17:03        Harris County,
                 Linebarger Goggan Blair & Sampson LLP,     C/O Tara L. Grundemeier,     P.O. Box 3064,
                 Houston, TX 77253-3064
10308366       +E-mail/Text: bk@afsacceptance.com Jul 25 2018 21:17:30        AFS Acceptance,
                 1475 W. Cypress Creek Road,    Ft. Lauderdale, FL 33309-1931
10296350        E-mail/Text: bankruptcy@autofinance.com Jul 25 2018 21:15:42        Automotive Finance Corporation,
                 13085 Hamilton Crossing Blvd. Ste. 300,     Carmel, IN 46032
10296357       +E-mail/Text: bknotices@conduent.com Jul 25 2018 21:18:09        CES/Brazos,    c/o ACS,
                 501 Bleeker St.,    Utica, NY 13501-2401
10308367       +EDI: CAPITALONE.COM Jul 26 2018 00:43:00       Capital One,    P.O. Box 30253,
                 Salt Lake City, UT 84130-0253
10296356       +EDI: CAPITALONE.COM Jul 26 2018 00:43:00       Capital One Bank USA NA,     P.O. Box 30281,
                 Salt Lake City, UT 84130-0281
10296368       +EDI: CHASE.COM Jul 26 2018 00:43:00       Chase Bank,    P.O. Box 15298,
                 Wilmington, DE 19850-5298
10308371       +E-mail/Text: bankruptcy@consumerportfolio.com Jul 25 2018 21:17:16
                 Consumer Portfolio Services,    P.O. Box 57071,    Irvine, CA 92619-7071
                     Case 18-33828 Document 32 Filed in TXSB on 07/27/18 Page 4 of 4



District/off: 0541-4                  User: ShoshanaA                    Page 2 of 2                          Date Rcvd: Jul 25, 2018
                                      Form ID: 309Aamd                   Total Noticed: 61


Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center
(continued)
10308373       +EDI: CONVERGENT.COM Jul 26 2018 00:43:00      Convergent Outsourcing, Inc.,    800 SW 39th Street,
                 Renton, WA 98057-4975
10296375        EDI: IRS.COM Jul 26 2018 00:43:00      Department of the Treasury,    Internal Revenue Service,
                 Ogden, UT 84201-0013
10308411       +E-mail/Text: bankruptcy@flagshipcredit.com Jul 25 2018 21:17:18       Flagship Credit Acceptance,
                 3 Christy Drive, Suite 102,    Chadds Ford, PA 19317-9670
10300068        E-mail/Text: houston_bankruptcy@LGBS.com Jul 25 2018 21:17:03       Harris County et al.,
                 c/o Tara L. Grundemeier,    Linebarger Goggan Blair & Sampson LLP,    P.O. Box 3064,
                 Houston, Tx 77253-3064
10298286       +EDI: PRA.COM Jul 26 2018 00:43:00      PRA Receivables Management, LLC,    PO Box 41021,
                 Norfolk, VA 23541-1021
10296407       +EDI: RMSC.COM Jul 26 2018 00:43:00      SYNCB/Lowes,   P.O. Box 956005,    Orlando, FL 32896-0001
10296408       +EDI: RMSC.COM Jul 26 2018 00:43:00      SYNCB/RoomstoGo,   P.O. Box 965036,
                 Orlando, FL 32896-5036
10296410        E-mail/Text: pacer@cpa.state.tx.us Jul 25 2018 21:17:34      Texas Comptroller,
                 P.O. Box 13528, Capitol Station,    Austin, TX 78711-3528
10296412       +EDI: WFFC.COM Jul 26 2018 00:43:00      Wells Fargo Card Service,    P.O. Box 14517,
                 Des Moines, IA 50306-3517
10296413       +EDI: WFFC.COM Jul 26 2018 00:43:00      Wells Fargo Home Mortgage,    P.O. Box 10335,
                 Des Moines, IA 50306-0335
10300744       +E-mail/Text: BankruptcyNotice@westlakefinancial.com Jul 25 2018 21:17:59
                 Western Funding Inc.,    3915 E. Patrick Lane,   Las Vegas, NV 89120-3965
                                                                                              TOTAL: 22

              ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
cr*               +PRA Receivables Management, LLC,     PO Box 41021,   Norfolk, VA 23541-1021
10296352*          AES/BELA-US Bank,    P.O. Box 20301,    Helena, MT 59620
10296353*        ++AUTOMOTIVE FINANCE CORPORATION,    13085 HAMILTON CROSSING BLVD,    SUITE 300,
                    CARMEL IN 46032-1445
                  (address filed with court: Automotive Finance Corporation,
                    13085 Hamilton Crossing Blvd. Ste. 300,     Carmel, IN 46032)
10296374*          Internal Revenue Service,    Centralized Insolvency Operation,    P. O. Box 7346,
                    Philadelphia, PA 19101-7346
10300736*         +Lending Club Corporation,    71 Stevenson Street, Ste. 1000,    San Francisco, CA 94105-2967
10300741*         +SYNCB/Lowes,   P.O. Box 956005,    Orlando, FL 32896-0001
10300742*         +SYNCB/RoomstoGo,    P.O. Box 965036,    Orlando, FL 32896-5036
10296351*         +Sholeh Abedinzadeh,    The Welscher Martinez Law Firm,    1111 North Loop West, Suite 702,
                    Houston, Texas 77008-4715
10296377        ##+Merchant Capital Group,    111 Miami Gardens Drive, Suite 408,    Miami, FL 33169-4619
                                                                                                  TOTALS: 0, * 8, ## 1

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’++’ were redirected to the recipient’s preferred mailing address
pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.PR.2002(g)(4).

Addresses marked ’##’ were identified by the USPS National Change of Address system as undeliverable.                             Notices
will no longer be delivered by the USPS to these addresses; therefore, they have been bypassed. The
debtor’s attorney or pro se debtor was advised that the specified notice was undeliverable.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jul 27, 2018                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on July 25, 2018 at the address(es) listed below:
              Adrian Stanley Baer    on behalf of Debtor Charlvin DeWayne Denman abaer@clegal.com
              Ronald J Sommers    efile@nathansommers.com, RS@trustesolutions.com,RS@trustesolutions.net,
               jbatres@nathansommers.com
              Tara L Grundemeier    on behalf of Creditor   Harris County houston_bankruptcy@publicans.com
              US Trustee   USTPRegion07.HU.ECF@USDOJ.GOV
                                                                                             TOTAL: 4
